
On Rehearing.
LAND, J.
In this case the application was not “dated and signed” by the applicant as required by article 197, § 3, of the Constitution of 1898, and in neither were all the blanks properly filled in. The first defect is necessarily fatal. The form of the application as given does not nullify the requirement of date and signature. Plaintiffs’ suits were dismissed with costs in the court below. This is assigned as error for the first time in the application for a rehearing. Article 201 of the Constitution in such cases as-these provides for an appeal to the Supreme Court, and declares that "“the General Assembly shall provide by law for such applications and appeals without cost.” This-the lawmaker has done. See Act No. 199, p. 453, of 1898. The question of cost in such cases does not depend on the result of the suit, as the party cast is given the right of appeal “without cost.” Section 19 of Act No. 199, p. 461, of 1898, provides for the recovery of costs against the supervisor, assess- or or clerks of registration only where they have “wilfully violated a plain duty bub not otherwise.” The same article and the same statute gives to any citizen the right to apply to the courts for the purpose of purging the registration rolls. In Ballard v. Puleston et al., 113 La. 235, 36 South. 951, this court held that the defendant, who had been cast in both courts, could not be charged with the costs for the transcript of appeal, saying: “The charge was wholly unauthorized. Const, art. 291; Act No. 199, p. 461, of 1898-, § 18.”
It is therefore ordered that the judgments in both cases be amended by dismissing the suits without costs, and, as thus amended. *437be affirmed; and with this amendment of our decree the applications for a rehearing are refused.
